   Case 2:20-cr-00014-PLM ECF No. 95 filed 09/25/20 PageID.222 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             NORTHERN DIVISION

UNITED STATES OF AMERICA,                    Case No. 2:19-cr-14-02

                   Plaintiff,                Hon. Paul L. Maloney
                                             U.S. District Judge
      v.

MICHAEL JAMES GUMISKI.,

                   Defendant.
                                         /

                           ORDER FOR DETENTION

      Defendant appeared before the undersigned for an initial appearance and

arraignment on June 26, 2020. At that time, hearing on the Government’s detention

motion (ECF No. 15) was going to be scheduled for the next week. On June 30, 2020,

Defendant filed a motion to extend the time limit for the detention hearing (ECF No.

27,) to allow him additional time to discuss possible treatment with counsel. On July

9, 2020, this Court held a telephone status conference with counsel, after which

Defendant was ordered for a local mental health assessment. Hearing on that mental

health assessment was held August 12, 2020 and counsel and the Court agreed that

Defendant was competent and able to assist in his defense.

      As of this date, Defendant has not requested a hearing on the Government’s

motion for detention.

      IT IS HEREBY ORDERED that Defendant shall remain detained pending

further proceedings.
   Case 2:20-cr-00014-PLM ECF No. 95 filed 09/25/20 PageID.223 Page 2 of 2




     IT IS SO ORDERED.


Dated: September 25, 2020            /s/ Maarten Vermaat
                                   MAARTEN VERMAAT
                                   U.S. MAGISTRATE JUDGE




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